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                      EXHIBIT C
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Master Lease    Term      Monthly      Months     Remaining                     Equipment
Schedule No.   (Months)   Payment     Remaining    Balance
    n/a          60        $93.28        2         $186.56     SAVIN Copier Model 99450PE w/ AROF, Finisher,
                                                                        Print Control, NIC, Console,
                                                                               s/n 5306400051

    n/a          60       $1,662.00      12       $21,068.88       MINOLTA Digital Copier Model Di551,
                                                                            s/n 31008842

                                                                   MINOLTA Digital Copier Model Di551,
                                                                            s/n 31011587

    n/a          36       $577.70         2       $1,155.40       KONICA MINOLTA Copier Model Di551
                                                                            s/n 31006854
